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                           EXHIBIT A:
                  Declaration of James C. Martin


       Defendant Concord Management and Consulting LLC’s
       Motion for Admission Pro Hac Vice of James C. Martin,
           United States v. Internet Research Agency LLC,
                Criminal Action No. 18-00032 (DLF)
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

        v.                                                 Criminal Action No. 18-00032 (DLF)

INTERNET RESEARCH AGENCY LLC, et al.,

                Defendants.


                          DECLARATION OF JAMES C. MARTIN

       I, JAMES C. MARTIN, depose and say upon personal knowledge as follows:

       1.      Pursuant to Local Criminal Rule 44.1(d), I make this declaration in support of the

accompanying motion for admission pro hac vice filed by Defendant Concord Management and

Consulting LLC (“Concord”).

       2.      My full name is James Christopher Martin.

       3.      My office address is 225 Fifth Avenue, Pittsburgh, Pennsylvania 15222-2716, and

my office telephone number is (412) 288-3546.

       4.      I am a member of the bar of the Commonwealth of Pennsylvania and the State of

California. I am admitted to practice before the Supreme Court of the United States; the United

States Court of Appeals for the First, Second, Third, Fourth, Sixth, Seventh, Eighth, Ninth,

Tenth, Eleventh, Federal, and District of Columbia Circuits; the United States District Courts for

the Central District of California, the Eastern District of California, the Northern District of

California, and the District of Minnesota; and the United States Court of Federal Claims.

       5.      I have not been disciplined by any bar.

       6.      I have not applied for admission pro hac vice to this Court in the last two years.
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       7.     I will join Eric A. Dubelier (D.C. Bar No. 419412) , a member of the bar of this

Court in good standing, as co-cou nsel on behalf of Concord.

       I declare under penalty of perjury that the foregoing is true and correct.




Executed on Junet t , 2018
                                                               James C. Martin




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